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                KARYN ANN SHEALY ATTORNEY AFFIRMATION;
                         ATTORNEY OF RECORD FOR J.L.G.O.

I, Karyn Ann Shealy, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
following is true and correct to the best of my knowledge and belief:

   1. I am a staff attorney of the New York Immigrant Family Unity Project at The Legal
       Aid Society, located at 49 Thomas Street, Fifth Floor, New York, New York
       10013. I admitted to the New York State Bar, license number 6161160, and the
       Massachusetts State Bar, license number 703929. I began representation of
       J.L.G.O. on February 24, 2025. Through the course of my representation of
       J.L.G.O. has stated the below:

   2. J.L.G.O. was born in Venezuela on August 9, 1992. Prior to being detained, he was
      living in New York, New York. He is currently detained at El Valle Detention Facility
      in Raymondville, Texas.
   3. J.L.G.O.’s only entry into the United States was on or about September 29, 2022,
      through El Paso, Texas. J.L.G.O. filed an I-589 Application for Asylum and for
      Withholding of Removal with U.S. Citizenship and Immigration Services on
      September 18, 2023.

   4. On January 30, 2025, J.L.G.O. was at home when ICE officers detained him and
       transported him to Orange County Jail in Goshen, New York. J.L.G.O. was placed in
       removal proceedings at the Varick Street Immigration Court in New York, New York
       on February 4, 2025. On or about March 1, 2025, J.L.G.O. was transported from
       Orange County Jail to Moshannon Valley Processing Center.

   5. On March 8, 2025, at approximately 3 AM, J.L.G.O. was awoken, taken out of his cell
       and transferred to El Valle Detention Facility in Raymondville, Texas. J.L.G.O. did
       not know where he was going or his destination until he arrived.

   6. Counsel requested a call with J.L.G.O. and was given limited attorney calls on March
       10, 11, and 12, 2025. During the March 12, 2025 call, the line disconnected and
       Counsel was unable to speak again with J.L.G.O.. Counsel requested an attorney call
       for March 13, 2025, but it was not granted.

   7. On March 12, 2025 after J.L.G.O.’s attorney call, J.L.G.O. was asked to sign papers in
       English, which is not J.L.G.O.’s native language. J.L.G.O. was told that the paper was
       to acknowledge his prior transfer from Orange County Jail. J.L.G.O. asked for a
       translated copy of the papers but was denied. J.L.G.O. refused to sign the papers.

   8. On March 14, 2025 at approximately 3 AM, J.L.G.O. was awoken, taken out of his
       cell, and transported to a large building. There, he was kept with approximately 100
       other individuals from Venezuela in preparation for a later flight. At approximately
       12:30 PM, J.L.G.O. was told by an ICE officer that the upcoming flight had been
       cancelled because the plane did not pass inspection. J.L.G.O. was also told that he will
       be deported in the night of March 14, 15, or 16, 2025.
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    9. Counsel’s urgent request for an attorney call was granted on March 14, 2025, at
        approximately 3 PM.


 I declare under penalty of perjury that the foregoing is true and correct to the best of my
 knowledge.




March 14, 2025
New York, NY                                         Karyn Ann Shealy, Esq.
